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Case 2: 05- --Cr 20077- BBD Document 66 Filed 09/02/05 Page 1 of 2 Page|D 71

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Fon THE wEsTERN DISTRICT or-' TENNESSEE 05 SEP -2 PH 5. 27

IN THE UNITED STATES DISTRICT COURT

WESTERN DIVISION

 

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UNITED sTATEs oF AMERICA
Plaintiff,
vs. CR. No. 05-20066-D; 05"20071-D
05W20075-D; 05-20076-D
R:TA w:LLIAMSoN 05-20077~Dv/
Defendant.

 

ORDER ON CHANGE OF PLEA
AND SETT ING

 

This cause came to be heard on September 2, 2005, the United States
Attorney for this district, Timothy R. DiScenza, appearing for the
Government and the defendant, Rita Williamson, appearing in person and with
counsel, Edwin A. Perry, who represented the defendant.

With leave of the Court, the defendant withdrew the not guilty plea
heretofore entered and entered a plea of guilty to Count l of the Indictment

05-20066, Count l of the Indictment 05-20075, and Count l of the Indictment
05-20076.

Remaining Counts in Indictments 05-20066, 05-20071, 05-20075, 05-
20076, and 05-20077 shall be dismissed at the Sentencing Hearing.

Plea colloquy was held and the Court accepted the guilty plea.

sI-:NTENCING in this case is sET for FRIDAY, JANUA.RY 27, 2006, at.
1:30 P.M., in Courtroom No. 3, on the 9th floor before Judge Bernice B.
Donald.

Defendant is allowed to remain released on present bond.

ENTERED this the 2d day of september, 2005.

 

ITED STATES DISTRICT JUDGE

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EdWin A. Perry

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Honorable Bernice Donald
US DISTRICT COURT

